Docusign Envelope ID: 940EEC12-3ED5-41C1-BECE-744EE2539481
                             Case 22-11068-JTD              Doc 25860          Filed 09/26/24          Page 1 of 3


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF DELAWARE


    In re:
                                                                             Chapter 11
             FTX Trading Ltd., et al.                                        Case No. 22-11068
                      Debtors                                                (Jointly Administered)



                                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY

    A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
    notice pursuant to Rule 3001(e)(2) Fed. R. of Bankr. P., of the transfer, other than for security, of the claim referenced in
    this evidence and notice.


     Name of Transferor                                                 Name of Transferee


     [CONFIDENTIAL CREDITOR]                                            BRADFORD CAPITAL HOLDINGS, LP


     Transferor’s Address:                                              Transferee’s address for notices and payment:


              [Address on File]                                                   P.O. Box 4353

                                                                                  Clifton, NJ 07012

                                                                                  Attn: Brian L. Brager

                                                                                  bbrager@bradfordcapitalmgmt.com


     Schedule/Claim No.                                 Creditor Name      % Transferred      Debtor                 Case No.

                                                        Name
     Schedule #: 6382520                                                   100%               FTX Trading Ltd.       22-11068
                                                        (Redacted)


    I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
    knowledge and belief.

                                          By:                                                       Date:     09/26/2024

                                                 Transferee / Transferee’s Agent

    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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Transferee has in its possession an Evidence of Transfer signed by the Transferor.


To protect the identity of the Transferor, Transferee has not disclosed        the   Transferor’s
name    or   address,   and    has   not attached the signed Evidence of Transfer to this
Notice of Transfer of Claim.


Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
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                                                             EXHIBIT A

                                         SCHEDULED CLAIM(S) / PROOF(S) OF CLAIM

    Excerpt from Schedule F:




    Excerpt from Amended Schedule F (2023):




    Excerpt from Kroll Website:
